                Case 2:15-cr-00012-WKW-SRW Document 98 Filed 01/25/16 Page 1 of 2
AU 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                           Middle District of Alabama

          UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                              V.                                          (For Revocation of Probation or Supervised Release)
              ALQUAMAR R. JACKSON

                                                                          Case No. 2:15cr012-01-WKW
                                                                          USM No. 15603-002
                                                                           Cecilia Vaca
                                                                                                   Defendant's Attorney
THE DEFENDANT:
    admitted guilt to violation of condition(s)          !......_                     - of the term of supervision.
D was found in violation of condition(s)                                              after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                             Nature of Violation                                      Violation Ended
          1                        Committing a new criminal offense                                              09/15/2015




       The defendant is sentenced as provided in pages 2 through              2       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s)                                 and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8822                        01/21/2016
                                                                                                                             nt
Defendant's Year of Birth:           1987

City and State of Defendant's Residence:                                                             Signature of Judge
                 Newark, New Jersey
                                                                          W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                                         Name and Title of Judge

                                                                               I . j5/
                                                                                                               Date
               Case 2:15-cr-00012-WKW-SRW Document 98 Filed 01/25/16 Page 2 of 2


  AO 2450      (Rev 09/I1) Judgment in a Criminal Case for Revocations
               Sheet 2— Imprisonment

                                                                                                    Judgment — Page   2   of    2
  DEFENDANT: ALQUAMAR R. JACKSON
  CASE NUMBER: 2:15cr012-01-WKW


                                                                  IMPRISONMENT

         The defcndant is hereby committed to the custody of the United Stares Bureau of Prisons to be imprisoned for a total
  term 01:
9 months. No term of supervised release to follow. The term of supervised release imposed on August 3, 2015 is revoked.




            The court makes the following recommendations to the Bureau of Prisons:

The Court recommends that defendant be designated to a facility as close as possible to New Jersey.




            The defendant is remanded to the custody of the United States Marshal.

            The defendant shall surrender to the United States Marshal for this district:
            E at                                     0 am.          E p.m.    on
            0 as notified by the United States Marshal.

       0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            o before 2 p.m. on
            0 as notified by the United States Marshal.
            o as notified by the Probation or Pretrial Services Office,

                                                                         RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                       to

  at                                                   with a certified copy ofihis judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                             By
                                                                                              DEPUTY UNITED STATES MARSHAL
